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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 TYRONE MORGAN ,

                                                           Case No. 1:18-cv-00592
 Plaintiff,
                                                           Honorable Robert W. Gettleman
 v.

 SOUTHWEST CREDIT SYSTEMS, L.P.,

 Defendant.

              PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS

      NOW comes, Tyrone Morgan (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd., respectfully moves this Court to enter an order awarding attorney fees and costs to

Plaintiff pursuant to 15 U.S.C. §1692k(a)(3) and F.R.C.P 68. Plaintiff hereby petitions the Court

for an award of reasonable attorney fees in the amount of $4,562.25 and costs in the amount of

$422.00.

                                    SUMMARY OF FACTS

         On January 28, 2018, Plaintiff filed a Complaint for Relief Pursuant to the Fair Debt

Collection Practices Act (“FDCPA”) under 15 U.S.C §1692 et seq., the Telephone Consumer

Protection Act (“TCPA”) under 47 U.S.C. §227 et seq., and the Illinois Consumer Fraud and

Deceptive Business Practices Act (“ICFA”) under 815 ILCS 505/1 et seq. However, on March 9,

2018, after reviewing Southwest Credit Systems, L.P.’s (“Defendant’) informal discovery

production, Plaintiff amended his Complaint todismiss the TCPA count.

         On April 25, 2018, Defendant’s counsel submitted a Rule 68 Offer of Judgment (“Offer”)

to Plaintiff for $1,001.00. The Offer also provided for payment of “reasonable attorney’s fees and

taxable costs incurred in this action through the expiration of this offer, such fees and costs to be
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determined by agreement of the parties and if the parties cannot agree, by the Court upon motion

by Plaintiff”.

On May 3, 2018, Plaintiff accepted Defendant’sOffer by filing a Notice of Acceptance [Dkt.

18]With the goal of amicably resolving the matter without Court intervention, on May 8, 2018,

pursuant to the Offer of Judgement, Plaintiff’s counsel tendered an itemization of his attorney fees

and costs to Defendant. The itemization asked for $4,562.25 in attorney fees and $422.00 in costs.

Plaintiff’s counsel sent an email to Defendant’s counsel on May 16, 2018, following up on the

itemization of attorney fees and costs he submitted. On May 17, 2018, Defendant’s counsel offered

to remit $3,500.00 to Plaintiff to cover the Offer , which proposed to only pay $2,499.00 towards

Plaintiff’s costs and attorney’s fees incurredin the instant action..

                                                  STANDARD

        The Fair Debt Collection Practices Act (“FDCPA”) was enacted to prevent “abusive,

deceptive, and unfair debt collection practices”. 15 U.S.C. §1692(a). A Plaintiff who prevails under

the FDCPA is entitled to an award of costs and reasonable attorneys’ fees. Schlacher v. Law Offices

of Phillip J. Rotche & Assoc., P.C., 574 F.3d 852, 856 (7th Cir. 2009). In order to encourage able

counsel to undertake FDCPA cases, Congress has made an award of reasonable attorney’s fees

mandatory. 15 U.S.C. § 1692k(a)(3); Tolentino v. Friedman, 46 F.3d 645, 651-52 (7th Cir. 1995)

cert denied, 515 U.S. 1160 (1995). Although there is no precise formula for determining a

reasonable fee, the district court generally begins by calculating the lodestar--the attorney's

reasonable hourly rate multiplied by the number of hours reasonably expended. Hensley v.

Eckerhart, 461 U.S. 424, 433-37, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983); Gautreaux v. Chi. Hous.

Auth., 491 F.3d 649, 659 (7th Cir. 2007). The proper hourly rate is determined based on the market

rate for the services of plaintiff's counsel. See, e.g., Missouri v. Jenkins, 491 U.S. 274, 283, 105 L.




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Ed. 2d 229, 109 S. Ct. 2463 (1989). If an attorney commonly charges by the hour, his regular

billing rate is presumptively the market rate. Spegon v. Catholic Bishop of Chicago, 175 F.3d 544,

555 (7th Cir. 1999); People Who Care v. Rockford Board of Education, 90 F.3d 1307, 1310 (7th

Cir. 1996).

       The plaintiff bears the burden of proving the reasonableness of his attorneys’ fees. Hensley,

461 U.S. at 437. The court considers the following factors when calculating fees: (1) the time and

labor required; (2) the novelty and difficulty of the question; (3) the skill requisite to perform the

legal service properly; (4) the preclusion of employment by the attorney due to acceptance of the

case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) any time limitations

imposed by the circumstances; (8) the amount involved and the results obtained; (9) the

experience, reputation, and ability of plaintiff’s attorney; (10) the undesirability of the case; and

(11) fee awards in similar cases. Tolentino, 46 F.3d at 652 (citing Hensley, 461 U.S. at 441).

       Further, if an attorney ordinarily works on a contingent-fee basis, a court “should look to

the next best evidence -- the rate charged by lawyers in the community of ‘reasonably comparable

skill, experience, and reputation.’” People Who Care, 90 F.3d at 1310 (quoting Blum v. Stenson,

465 U.S. 886, 895 n.11, 79 L. Ed. 2d 891, 104 S. Ct. 1541 (1984)). The “next best evidence” also

includes fee awards the attorney has received in similar cases. Id. at 1310-12. The district court

may then adjust that figure to reflect various factors including the complexity of the legal issues

involved, the degree of success obtained, and the public interest advanced by the litigation.

Connolly v. Nat'l Sch. Bus Serv., Inc., 177 F.3d 593, 597 (7th Cir. 1999); Strange v. Monogram

Credit Card Bank of Ga., 129 F.3d 943, 946 (7th Cir. 1997).

       The maximum amount of statutory damages that an FDCPA Plaintiff can recover is $1,000

15 U.S.C. §1692k(a)(2)(A). The “degree of success obtained” is the most important consideration




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when the court determines what is a reasonable fee award. Hensley, 461 U.S. at 436; Tolentino v.

Friedman, 46 F.3d 645, 652 (7th Cir. 1995). A plaintiff prevailing on judgment and recovering the

maximum statutory damages allowed under the FDCPA has obtained a high degree of success.

Tolentino, 46 F.3d at 653. “Success is not measured only by the amount of recovery but also in

terms of the significance of the legal issue on which the plaintiff prevailed and the public purpose

the litigation served.” Morales v. City of San Rafael, 96 F.3d 359, 365, as amended on denial of

rehearing and rehearing en banc, 108 F.3d 981 (9th Cir. 1997). The amount of attorney’s fees

requested need not be proportionate to the settlement or judgment amount, however, as that would

defeat the public benefit advanced by the litigation. Dunning v. Simmons Airlines, Inc., 62 F.3d

863, 873, n. 13 (7th Cir. 1995).

                                           ARGUMENT

                   A. PLAINTIFF WAS SUCCESSFUL IN THIS ACTION

       The Fair Debt Collection Practices Act requires the payment of costs and reasonable

attorney fees to a successful consumer. 15 U.S.C. §1692k (a)(3). Plaintiff was a successful party

in this lawsuit having induced Defendant to submit a Rule 68 Offer of Judgment in the amount of

$1,001.00 plus reasonable attorney’s fees and costs. This is more than the maximum amount of

statutory damages that could have been recovered in this case in total against the Defendant. 15

U.S.C. §1692k (a)(2). As a result, Plaintiff has achieved a high degree of success.

       B. PLAINTIFF’S COUNSEL’S HOURLY RATE OF $375 IS REASONABLE

       Plaintiff’s counsel’s hourly rate of $375 per hour is reasonable, as that amount is his actual

billing rate for non-contingent cases; it is comparable to other attorneys’ rates in this District for

similar work. Plaintiff’s counsel, Nathan C. Volheim, is one of the most active consumer rights

attorneys in the country. He regularly represents consumers in the Northern District of Illinois as




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well as 12 other districts across the country and has represented thousands of consumers in federal

court in our District since 2010. For these reasons, Plaintiff’s counsel believes that he has met his

burden of proving his market rate. Thus, his rate is reasonable and should be awarded.

 C. THE NUMBER OF HOURS EXPENDED ON THE LITIGATION IS REASONABLE

        The FDCPA mandates that a successful plaintiff be awarded his reasonable attorneys’ fees

and costs. 15 U.S.C. § 1692k(a)(3); Tolentino v. Friedman, 46 F.3d 645, 651 (7th Cir.), cert.

denied,132 L. Ed. 2d 856, 115 S. Ct.2613 (1995). In calculating an attorneys’ fee award, the “most

useful starting point for determining the amount of a reasonable fee is the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.”46 F.3d at 652

(quoting Hensley v. Eckerhart, 461 U.S. 424, 433, 76 L. Ed. 2d 40, 103 S. Ct. 1933 (1983)). The

Supreme Court has directed that “[c]ounsel for the prevailing party should make a good-faith effort

to exclude from a fee request hours that are excessive, redundant, or otherwise unnecessary, just

as a lawyer in private practice ethically is obligated to exclude such hours from his fee

submission.” Hensley v. Eckerhart, 461 U.S. 424, 444, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983). If

the prevailing party fails to exercise the proper billing judgment, a court should exclude from the

fee calculation “hours that were not reasonably expended.” Id.

        Here, Plaintiff is seeking fees for 16.5 hours for work rendered up to the date of and

including work rendered for the instant fee petition. Plaintiff believes that he is entitled to his

attorney’s fees for the work rendered on his behalf subsequent to the acceptance of offer. It was

Defendant’s own unwillingness to reasonably respond to the itemization of attorney fees that

Plaintiff’s counsel submitted to Defendant which forced Plaintiff’s counsel to expend more time

and work than necessary by filing this fee petition. .As a result, Plaintiff believes that he is entitled

to the attorney’s fees incurred in preparing the instant fee petition. Moreover, Plaintiff reserves the




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right to submit a supplemental fee petition for work rendered on his behalf subsequent to the

submission of the instant fee petition, if necessary.

    D. THE AMOUNT OF COSTS EXPENDED ON THE CASE WAS REASONABLE

        Plaintiff is seeking costs for $422.00 incurred to litigate this action. See Exhibit A,

Plaintiff’s Proof of Costs. Plaintiff is only seeking his filing costs and parking fee incurred to attend

the Initial Status Hearing. The aforementioned costs were necessary, are reasonable by any

standard, and should be granted.

    E. PLAINTIFF’S ATTORNEY IS TO BE AWARDED FEES PURSUANT TO THE
                          LODESTAR FORMULA

        In calculating an attorneys’ fee award, the “most useful starting point for determining the

amount of a reasonable fee is the number of hours reasonably expended on the litigation

multiplied by a reasonable hourly rate.”Tolentino, 46 F.3d at 652 (quoting Hensley v.Eckerhart,

461 U.S. 424, 433, 76 L. Ed. 2d 40,103 S. Ct. 1933 (1983)). The Seventh Circuit has found that

“it is necessary that counsel be awarded fees commensurate with those which they could obtain

by taking other types of cases.”Id. Providing competitive rates ensures that attorneys will take

cases that are in the public’s interest. Tolentino at 652-53.

        Ultimately, Plaintiff’s counsel expended 16.50 attorney hours in total, for a total of

$4,562.25 in attorney fees over the course of this litigation. See Exhibit B, Plaintiff’s counsel’s

itemization for services rendered and Exhibit C contains Plaintiff’s counsel’s Declaration. The

lodestar calculation for the efforts of counsel is thus $4,562.25. Thus, the total lodestar calculation

for the award of attorney fees to the Plaintiff totals $4,562.25, plus costs of $422.00.




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                                        CONCLUSION

       Based upon the lodestar calculation, attorney fees should be awarded to Plaintiff for

$4,562.25. An award for costs of $422.00 are sought, and should be awarded as well.




                                                    s/ Nathan C. Volheim_____
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                               CERTIFICATE OF SERVICE

       I, Nathan C. Volheim, an attorney, certify that on May 25, 2018, I caused the foregoing
PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS be served upon counsel of record
through operation of the Court’s Case Management/Electronic Case File (CM/ECF) system.



                                                    s/ Nathan C. Volheim_____
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